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         UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH



   KLAY ANDERSON, et. al,                             ORDER GRANTING MOTION FOR
                                                       ADMISSION PRO HAC VICE OF
                        Plaintiffs,                           NIMRA AZMI
          v.

   THE ECONOMIST NEWSPAPER NA,                           Civil No. 2:23-cv-878-HCN-DAO
   INC.,
                                                     District Judge Howard C. Nielson, Jr.
                        Defendant.                   Magistrate Judge Daphne A. Oberg



        Before the court is Local Counsel’s Motion for Pro Hac Vice Admission of Nimra Azmi.

 Based on the motion and for good cause appearing,

        IT IS HEREBY ORDERED that the motion is GRANTED.

        DATED this ____ day of _____________, 2024.

                                                     BY THE COURT:




                                                     ____________________________________
                                                     Magistrate Judge Daphne A. Oberg
